     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 1 of 7 Page ID #:1



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14     and PELEUS INSURANCE COMPANY
15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17     FULLSTORY, INC.,                           Case No.
                                                  Assigned to:
18                            Plaintiff,
                                                  [State Court Case No. 22STCV29834]
19          v.
20     NORTH AMERICAN CAPACITY                      DEFENDANTS NORTH
       INSURANCE COMPANY, PELEUS                    AMERICAN CAPACITY
21     INSURANCE COMPANY, COALITION,
       INC., COALITION INSURANCE                    INSURANCE COMPANY AND
22     SOLUTIONS, INC., and DOES 1 through 5        PELEUS INSURANCE
23                                                  COMPANY’S NOTICE OF
                              Defendant.
                                                    REMOVAL TO FEDERAL
24                                                  COURT UNDER 28 U.S.C. §§
25                                                  1441(B) [DIVERSITY]

26           PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332(a), 1441 and
27     1446, Defendants, North American Capacity Insurance Company (“Swiss Re”) and
28     Peleus Insurance Company (“Peleus”) hereby remove Case No. 22STCV29834
     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 2 of 7 Page ID #:2




1      from the Superior Court of the State of California, County of Los Angeles to the
2      United States District Court for the Central District of California. The grounds for
3      removal are as follows:
         I.    BACKGROUND
4
5             1.   Plaintiff Fullstory, Inc. (“Plaintiff” or “Fullstory”) brought this action
6      against Swiss Re, Peleus, Coalition, Inc. (“Coalition”), and Coalition Insurance
7      Solutions, Inc. (“CIS” and together with Swiss Re, Peleus, and Coalition,
8      “Defendants”) in the Superior Court of the State of California, County of Los Angeles
9      County, by filing a Complaint on September 12, 2022, which was docketed as Case
10     No. 22STCV29834, alleging that Defendants are contractually obligated to provide
11     insurance coverage in connection with civil proceedings captioned as:
12           Sofoian v. General Nutrition Corp., C.A. No. 2:20cv10586 (C.D. Cal.);
13           Johnson v. Blue Nile, Inc., C.A. No. 3:20cv8183 (N.D. Cal.);
             Graham v. Noom, Inc., C.A. No. 3:20cv6903 (N.D. Cal.);
14
             Saleh v. Hudson's Bay Co., C.A. No. 2:20cv9095 (C.D. Cal.);
15           Holden v. Found Health, Inc., C.A. No. 2:20cv1988 (E.D. Cal.);
16           Saleh v. Nike, Inc., C.A. No. 2:20cv9581 (C.D. Cal.)

17     (the “Underlying Actions”).
18            2.   Plaintiff served a copy of the Complaint on Swiss Re and Peleus on
19     September 19, 2022. A copy of the Summons, Complaint, Civil Case Cover Sheet,
20     etc. as served on Peleus is attached as Exhibit A. A copy of the Summons, Complaint,
21     Civil Case Cover Sheet, etc. as served on Swiss Re is attached as Exhibit B.
22            3.   The basis for removal is diversity of citizenship. Pursuant to 28 U.S.C. §
23     1332(a), United States District Courts have jurisdiction over all actions where the
24     matter in controversy is in excess of $75,000, exclusive of interest and costs, and
25     where the action is between citizens of different states. As explained more fully
26     below, this is an insurance coverage action. Defendants Swiss Re and Peleus, on the
27     one hand, and Plaintiff, on the other, are the sole parties to the insurance contract
28     giving rise to the subject litigation. Nonetheless, Plaintiff has named defendants

                                                 -2-
     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 3 of 7 Page ID #:3




1      Coalition and CIS as additional defendants despite the fact that they are not parties to
2      the policy and have no obligations arising from it. There is complete diversity of
3      citizenship between Plaintiff, as a citizen of Delaware and defendants Swiss Re,
4      Peleus, and CIS, as citizens of New Hampshire, Virginia, and California respectively.
5      Defendant Coalition is, like Plaintiff, a citizen of Delaware. However, because
6      defendants Coalition and CIS cannot be held liable under any of the causes of action
7      asserted by Plaintiff, they have been fraudulently joined, and their citizenship
8      therefore must be disregarded for purposes of determining diversity jurisdiction. For
9      the same reason, as discussed more fully below, 28 U.S.C. § 1441(b)(2) is not a barrier
10     to removal as neither Defendant has been “properly joined and served” in this matter.
11     See 28 U.S.C. § 1441(b)(2) (emphasis added).
12     II.   THE PARTIES ARE COMPLETELY DIVERSE.
13           4.    This Court has original jurisdiction of this action because it is an action
14     between citizens of different states and the matter in controversy exceeds the sum or
15     value of $75,000.00, exclusive of interest and costs, under 28 U.S.C. §1332. Thus,
16     removal is proper under 28 U.S.C. §§1441(a), (b) and 28 U.S.C §1446.
17           5.    Based on its own allegations in the Complaint, Plaintiff FullStory is a
18     Delaware corporation with its principal place of business in Atlanta, Georgia. See
19     also Exhibits A & B, Compl. ¶ 1. Accordingly, under 28 U.S.C. 1332(c)(1), Plaintiff
20     is a citizen of Delaware and Georgia.
21           6.    Swiss Re is a corporation organized under the laws of New Hampshire
22     with its principal place of business in New Hampshire. Accordingly, under 28 U.S.C.
23     § 1332(c)(1), Defendant Swiss Re is a citizen of New Hampshire.
24           7.    Peleus is a corporation organized under the laws of Virginia with its
25     principal place of business in Virginia. Accordingly, under 28 U.S.C. § 1332(c)(1),
26     Defendant Peleus is a citizen of Virginia.
27     ///
28     ///

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     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 4 of 7 Page ID #:4




1            8.    Defendant CIS is, upon information and belief, a California corporation
2      with its principal place of business in California. According to the allegations of the
3      Complaint, CIS is a citizen of California. Exhibits A & B, Compl. ¶ 2.
4            9.    Defendant Coalition is, upon information and belief, a Delaware
5      corporation with its principal place of business in California. The Complaint alleges
6      that Coalition is solely a citizen of Delaware. Id.
7            10. The Complaint generally alleges that a cyber insurance policy, No. C-
8      4LQK-067610 issued by Swiss Re and Peleus to Fullstory for the policy period of
9      June 24, 2020 to June 24, 2021 (the “Policy”) affords certain coverage for the
10     Underlying Actions. Exhibits A & B, Compl. ¶¶ 9-10, 15, 26; Ex. A.
11           11. The Policy was issued by CIS on behalf of Swiss Re and Peleus.
12     Exhibits A & B, Compl., Ex. A; Declaration of Kirsten Mickelson (“Mickelson
13     Decl.”) ¶ 4. Coalition is the parent company of CIS. Id.
14           12. The Policy provides that Swiss Re is obligated to pay 51% of the $5
15     million of liability for covered amounts, totaling $2,550,000. Exhibits A & B,
16     Compl., Ex. A.
17           13. The Policy provides that Peleus is obligated to pay 49% of the $5
18     million limit of liability for covered amounts, totaling $2,450,000. Exhibits A & B,
19     Compl., Ex. A.
20           14. The Policy does not name CIS or Coalition as an insurer and does not
21     require either CIS or Coalition to pay any portion of the $5 million limit of liability.
22     Exhibits A & B, Compl., Ex. A; Mickelson Decl. ¶¶ 5-6.
23           15. Coalition and CIS are not parties to the insurance contract at issue and
24     thus have no obligation or duty to Plaintiff arising out of said insurance contract.
25     Exhibits A & B, Compl., Ex. A; Mickelson Decl. ¶¶ 5-6.
26           16. Plaintiff does not include particularized allegations regarding Coalition
27     or CIS in its complaint. However, as noted, the Policy attached to Plaintiff’s
28     complaint plainly provides that Swiss Re and Peleus (and not Coalition or CIS) are

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     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 5 of 7 Page ID #:5




1      the only parties to the Policy. Further, Exhibit D to Plaintiff’s complaint
2      demonstrates that Swiss Re and Peleus were responsible for handling Plaintiff’s
3      claim for coverage. Exhibits A & B, Compl., Ex. D; see also Mickelson Decl. ¶ 7.
4            17. Swiss Re, a citizen of Virginia, and Peleus, a citizen of New Hampshire,
5      are completely diverse from Plaintiff, a citizen of Delaware and Georgia.
6            18. Therefore, although the Complaint as pled does not reflect complete
7      diversity between the parties, complete diversity exists because Coalition and CIS
8      were fraudulently joined as defendants and their citizenship should be disregarded.
9      III. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.
10           19. The amount in controversy exceeds $75,000, exclusive of interest and
11     costs. FullStory seeks damages for insurance coverage in connection with the
12     Underlying Actions. See Exhibits A & B, Compl. ¶¶ 13-15. FullStory seeks
13     defense expenses and indemnity coverage for a settlement in the Underlying
14     Litigation, totaling $3,082,017.04. Exhibits A & B, Compl., Ex. H. In addition to
15     this amount, FullStory seeks punitive damages. Exhibits A & B, Compl. ¶¶ 54-55;
16     Prayer for Relief ¶ 4. Thus, the jurisdictional amount required under 28 U.S.C. §
17     1332 is satisfied.
18           20. Accordingly, jurisdiction over the subject matter of this case is conferred
19     by 28 U.S.C. §§ 1332(a)(1) and 1441.
20     IV. SWISS RE AND PELEUS HAVE COMPLIED WITH ALL REMOVAL
21         REQUIREMENTS.
22           21. This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b),
23     as it has been filed within thirty (30) days of service of the Summons and Complaint
24     on Swiss Re and Peleus.
25           22. This action is properly removed to the United States District Court for the
26     Central District of California because this matter was filed in the Superior Court of
27     the State of California, County of Los Angeles, which lies within this District and
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     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 6 of 7 Page ID #:6




1      Division. See 28 U.S.C. § 84(c)(2). A true and correct copy of the State Court docket
2      is attached hereto as Exhibit C.
3            23. 28 U.S.C. § 1441(b)(2) provides that “A civil action otherwise removable
4      solely on the basis of the jurisdiction under section 1332(a) of this title may not be
5      removed if any of the parties in interest properly joined and served as defendants is a
6      citizen of the State in which such action is brought.” Neither CIS nor Coalition has
7      any liability to Plaintiff under the Policy or otherwise for any cause of action alleged
8      in the complaint. Accordingly, CIS and Coalition are not defendants "properly joined
9      and served” in this litigation. Because the only defendants properly joined and served
10     in this litigation—Swiss Re and Peleus—are not citizens of the State of California,
11     this matter is removable under 28 U.S.C. § 1441(b)(2).
12           24. In accordance with 28 U.S.C. § 1446(a), attached as Exhibit A to the
13     Notice of Removal are copies of all process, pleadings, and orders in this action that
14     have been received by Swiss Re and Peleus.
15           25. A copy of this Notice of Removal also has been forwarded for filing with
16     the Clerk of the Superior Court of the State of California, County of Los Angeles to
17     effect removal of this action to the United States District Court for the Central District
18     of California, Western Division pursuant to 28 U.S.C. § 1446(d).
19     THEREFORE, having made all of the requirements for removal under 28 U.S.C. §§
20     1441 and 1446, including all jurisdictional requirements established by 28 U.S.C. §
21     1332, Swiss Re and Peleus give notice that they remove this case to the United States
22     District Court for the Central District of California.
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24     ///
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     Case 2:22-cv-07344-GW-AS Document 1 Filed 10/07/22 Page 7 of 7 Page ID #:7




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       DATED: October 7, 2022            Respectfully submitted,
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